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                                                 #:1240

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12
13                                   UNITED STATES DISTRICT COURT
                                    CENTRAL DISTRICT OF CALIFORNIA
14
15 BARRY TUBB, an individual,                                  Case No. 2:24-cv-01417-GW-BFMx
16                  Plaintiff,                                 [PROPOSED] JUDGMENT
17            vs.                                              [Stipulated Request to Dismiss Case
18 PARAMOUNT PICTURES                                          With Prejudice And Enter Judgment For
   CORPORATION, a Delaware                                     Defendant Concurrently Submitted]
19 corporation,
20                                      Defendant.             Action Filed: February 21, 2024
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     [PROPOSED] JUDGMENT
     4897-2149-0766v.1 0012079-000393
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                                              #:1241

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     [PROPOSED] JUDGMENT
     4897-2149-0766v.1 0012079-000393
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                                              #:1242

 1                                      [PROPOSED] JUDGMENT
 2            Pursuant to the Parties’ Stipulated Request To Dismiss Case With Prejudice
 3 And Enter Judgment For Defendant (“Stipulation”), and the Court’s Order of June
 4 2, 2025 (Dkt. No. 78), which is incorporated into this Judgment (along with the
 5 Court’s prior tentative rulings of June 28, 2024, and January 29, 2025 at Dkt. Nos.
 6 44 and 72 which were made final in the Order of June 2, 2025), and good cause
 7 appearing therefore, it is HEREBY ORDERED, ADJUDGED, and DECREED as
 8 follows:
 9            1. Judgment is entered against Plaintiff and in favor of Defendant.
10            2. Plaintiff shall take nothing in this action by way of his Complaint.
11            3. Plaintiff’s Complaint, including each cause of action, is dismissed in its
12                 entirety with prejudice.
13            4. Each party is to bear its own fees and costs.
14
15 IT IS SO ORDERED.
16
     DATE: ___________, 2025                 ____________________________________
17                                           Hon. George H. Wu
18                                           United States District Court Judge

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     [PROPOSED] JUDGMENT
     4897-2149-0766v.1 0012079-000393
